                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                   )
                                             )
                               Plaintiff,    )
                       v.                    )       No. 3:05-CR-32
                                             )       (PHILLIPS/GUYTON)
 JEREMY ROBBINS,                             )
 DIANE SHANDS ROBBINS, and                   )
 VAIRAME TEDESCO,                            )
                                             )
                               Defendants.   )


                                MEMORANDUM AND ORDER

               This case was set for a motion hearing on January 9, 2006 at 9:00 a.m. before the

 undersigned. The motion hearing has been reset to January 30 and 31, 2006 at 9:00 a.m. All

 Subpoenas issued for the previous hearing will be fully effective for the January 30 and 31, 2006

 hearings.

               IT IS SO ORDERED.

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




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